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                EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

ESTATE OF KE ZHENGGUANG,

                                      Petitioner,

                 —against—
                                                    8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                     Respondent.



                             [PROPOSED] FINAL JUDGMENT

       WHEREAS Ke Zhengguang and Respondent Yu Naifen Stephany (a/k/a/ Stephany Yu,

a/k/a/ Stephany Naifen Yu a/k/a/ Stephany N. Dombrowski) (“Stephany Yu”) are among the

parties to that certain “Agreement on the Implementation of ‘The Preliminary Share

Restructuring Agreement,’” which called for disputes to be resolved via arbitration in Hong

Kong (ECF No. 35-1) (the “2010 Agreement”);

       WHEREAS in February 2013, Ke Zhengguang and Xu Hongbiao (the “Arbitral

Claimants”) filed an arbitration against the remaining parties to the 2010 Agreement, Stephany

Yu, Oasis Investment Group Limited, Yu Naiwen and Yu Naiyen (the “Arbitral Respondents”);

       WHEREAS the Petitioner the Estate of Ke Zhengguang (the “Estate”) was substituted as

a party in the arbitration for Ke Zhengguang following his death;

       WHEREAS the arbitral tribunal issued a final award, dated February 25, 2018 (ECF

No. 35-3), as clarified in a supplemental award, dated December 19, 2018 (ECF No. 35-5)

(collectively, the “Final Award”);
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       WHEREAS the Estate filed an Amended Petition in this Court against Stephany Yu

(ECF No. 35) under the Convention on the Recognition and Enforcement of Foreign Arbitral

Awards, June 10, 1958, 21 U.S.T. 2517, 33 U.N.T.S. 38 and 9 U.S.C. § 207, to confirm the Final

Award; and

       WHEREAS the Court has granted the Amended Petition. (ECF No. 53.)

       It is hereby ADJUDGED as follows:

       1.      The Final Award is confirmed, and its Orders are hereby entered as the judgment

of the Court, but only insofar as those Orders by their terms impose obligations upon the parties

before the Court, the Estate and Stephany Yu.

       2.      With respect to Order 9, judgment is entered against Stephany Yu in the amount

of $796,658.25,1 post-judgment interest based on the rate specified in 28 U.S.C. § 1961, from the

date of entry of this Final Judgment until its satisfaction.

       3.      Each party is to bear its own costs and fees.




                                                               Hon. Paul W. Grimm, U.S.D.J.
                                                               Dated:




       1
       This is calculated as the Estate’s one-half portion of the award amount,
RMB10,346,211, times the currency exchange rate published in the Wall Street Journal from
RMB to U.S. Dollars of 0.1540, as of February 28, 2018.

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